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In The United States Bankruptcy Court

For the Southern District of Georgia
Augusta Division

IN RE

CHAPTER 13

DALE AND DEI1ORAH CROCKER, CASE NO.: 04-14200

Debtors.

DEBORAH CROCKER,
Plaintiff,

V.

ADVERSARY NO.: 08-

NCO FINANCIAL SYSTEMS, INC.
First Defendant,

ASSET MANAG`EMENT
PROFE`_SSIONALS, LLC
Second Defendant,

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COMPLAINT FOR VIOLATIONS OF THE DISCHARGE ORI)ER "‘
AND FAIR DEBT COLLEC TIONS PRACTICES ACT

NOW COl:\/IES DEBORAH CROCKER, Debtor in the above~referenced Chapter 13 case,
and Plaintiff herein (hereinafter “Debtor”) and shows the Court her Cornplaint against NCO
FINANCIAL SYS;TEMS, INC. (hereinafter “NCO”) and ASSET MANAGEMENT
PROFESSIONALS, LLC (hereinafter “AMP”) for violations of the Chapter 13 discharge order
and Fair Debt Collection Practices Act (hereinaftcr “FDCPA”). In support of this Complaint,
I)ebtor avers the following

l STATEMENT OF JURISDICTION
This Cour; has jurisdiction of this action pursuant to 15 U.S.C. Section 1640(€) and 28

U.s.c. sections 1331 end 1337. rhie is ecere proceeding under 28 u.s.c. § 157 (b)(_z)(l). "rhie

Court reopened the Debtor’s case by Order dated October 15, 2008.

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NCO is a corporation lawfully authorized to conduct business in the State of Georgia, and
may be served by Summons and Cornplaint as proscribed by Bankruptcy Rule 7004(h).

Al\/IP is a corporation lawfully authorized to conduct business in the State of Georgia_, and
may be served by lSummons and Cornplaint as proscribed by Bankruptcy Rule 7004(h).

STATEMENT OF CASE

1. Debtors filed this Chapter 13 case November 18, 2004. Plato Student Loans
(“Plato”) was listed as a creditor, and received notice of the bankruptcy filing at the address ol` its
servicing agent, Loan Servicing Center. The terms of the Debtor’s Chapter 13 plan called for the
student loan debt to be paid in full at the contract rate of interest

2, EITllJC.AP, Inc. (hereinafter “‘EDUC.AP”) received notice of the filing from this
Court, and filed two proofs of claim on behalf ofPlato. The copies of the proofs of claim filed
by EDUCAP are attached as Exhibits l and 2. The account number for EDUCAP Exhibit 1 was
“631090 Plato”. '__`he account number for EDUCAP Exhibit 2 was “878087 Plato”.

3. EDUCAP did not object to the terms of the Debtor’s Chapter 13 plan, and it was
confirmed by Ordlj:r of this Court dated April 25, 2005.

4. The claims of EDUCAP filed on behalf of Plato were paid in full at the contract
rate of interest through the Debtors’ Chapter 13 plan. A copy of the Trustee’s Final report and
Account_, demonstrating the payments, is attached as Exhibit 3 and incorporated by reference
herein.

5. The Debtors’ case was discharged by Order of this Court dated October 30_, 2006.
A copy of the Order is attached as Exhibit 4.

6. After the issuance of the discharge, EDUCAP subsequently turned its debt over

for collection to Van Ru Credit Corporation. Debtor received a letter from Van Ru Credit

 

 

 

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Corporation dated November 7, 2006. Van Ru discontinued collection after receiving a letter
from Debtor’s counsel.

7. Aft__er the issuance of the discharge, EDUCAP subsequently turned its debt over
for collection to l\"£CO. NCO has persisted in its attempts at collecting this debt, despite the
Debtors’ bankruptcy discharge

8. NC.O mailed two letters to the Debtor dated February 6, 2007, seeking to collect
debts allegedly owed to EDUCAP. One letter, attached as Exhibit 5, sought to collect a balance
of $720.51 for account number 0000631090. This was the same account number listed on the
proof of claim attached as Exhibit 1. The other letter, attached as Exhibit 6, sought to collect a
balance of $1 593.34 for account number 0000878087. This was the same account number listed
on the proof of claim attached as Exhibit 2.

9. Co,lnsel l`or thc Debtor mailed a cease and desist letter to NCO dated February 19_,
2007. A copy of that letter is attached as Exhibit 7. The letter specifically warned that “any
future attempt at collection upon this debt will be met by the filing of an adversary proceeding,
seeking damages and attorney fecs”.

10. No response was received from NCO to that letter.

11. NCiO mailed two more letters to the Debtor dated l\/[arch 10, 2007, seeking to
collect debts allegedly owed to EDUCAP. One letter, attached as Exhibit 8, sought to collect a
balance of $721.2'9 for account number 0000631090. This was the same account number listed
on the proof of claim attached as Exhibit 1. 'l`he other letter_, attached as Exhibit 9, sought to

collect a balance of $1594.71 for account number 0000878087. "l"his was the Same account

number listed on the proof of claim attached as Exhibit 2.

 

 

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12. Co`unsel for the Debtor mailed a second cease and desist letter to NCO dated April
5, 2007. A copy of that letter is attached as Exhibit 10. No response was received from NCO
regarding that lettcr.

13. NCO mailed two more letters to the Debtor dated July 12, 2007, seeking to collect
debts allegedly owed to EDUCAP. One letter, attached as Exhibit 11, sought to collect a balance
of $724.30 for account number 0000631090. This was the same account number listed on the
proof of claim attached as Exhibit 1. The other letter, attached as Exhibit 12, sought to collect a
balance of $1600.39 for account number 0000878087. This Was the same account number listed
on the proof of claim attached as F,xhibit 2.

14. Debtor’s counsel mailed a third cease and desist letter to the NCO Legal
Department dated'July 30, 2007, a copy of which is attached as Exhibit 13. That letter was
mailed certified mail, and receipt was verified on August 3, 2007. Exhibit14. The letter included
all previous correspondence_, as well as proof of the payments made during the Chapter 13 case.

15. A representative of NCO who identified herself as Yvonne McPherson contacted
Debtor’s counsel.‘ She requested proof of the payment of the debts, and was supplied with the
requested information She asked for additional time in which to research the matter. Copies of
the requested documents were faxed to her on or about Septembcr 26, 2007.

16. Afi;er researching the matter, Yvonne agreed that collection of the debts was
improper Debtor’s counsel, who had already filed a motion to reopen the case so that an
adversary proceeding could be filed, withdrew the request.

17. NC'IO resumed its collection attempts in the early spring of 2008. Debtor’s
counsel again contacted Yvonne McPherson to prevent further contact and collection

Documents verifying the payment of the debt were again faxed to Yvonne l\/IcPherson on April

30, 2008.

 

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18. NCO subsequently sold, assigned or otherwise transferred the debt for collection
to AMP.

19. AMP mailed a letter seeking collection for account number 0000878087 in the
amount of §Bl 624.i)9. A copy of that letter is attached as Exhibit 15.

20. AMP has persisted in its attempts at collecting this debt, despite the Debtors’
bankruptcy discharge AMP_, by and through an employee who identified herself as “Shamingo”,
has resisted attempts by Debtor’s counsel to resolve the matter without the necessity of litigation

21. Debtor’s counsel faxed a copy of the motion to reopen the Debtor’s case_, as well
as supporting documents, to AMP on September 26, 2008. No response was received to that fax.

COUNT 1

DEBT()R’s CLAIM FoR vroLATIoNs or THE I)ISCHARGE oRDER
(11 U.s.C. § 524)

Debtor incorporates the allegations of paragraphs 1-21 herein and makes the following
additional allegations:
22. Debtor received a discharge in her Chapter 13 case on October 30, 2006. The

back of the Discharge Order specifically reads:

Collection of Discharged Debts Prohibited

The discharge prohibits any attempt to collect from the debtor a debt that
has been discharged For example_, a creditors is not permitted to contact a debtor
by mail, phone or otherwise, to file or continue a lawsuit, to attach wages or other
property, cr to take any other action to collect a discharged debt from the debtor.
[ln a case involving community property:] ['l`here are also special rules that
protect certain community property owned by the debtor’s spouse, even if that
spouse did not file a bankruptcy case.] A creditor who violates this order can be
required to pay damages and attorney’s fees to the debtor. (Discharge ()rder
attached as Exhibit l, “EXPLANATION OF A BANKRUPTCY DISCHARGE
IN A CHAPTER 13 CASE”).

 

 

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23. Despite the issuance of the Discharge Order and payment of the EDUCAP debt in
full, at the contract rate of interest_, NC() and Al\/lP continued to send billing statements to the
Debtor.

24. Debtor’s counsel sent a total of five letters to NCO, and one to AMP, regarding
the EDUCAP debt,

25. The letters specifically set forth an analysis of the claims that the Debtor had
against NCO and Al\/IP, and provided supporting exhibits so that payment of the debt could be
verified.

26. No response was received from NCO until over 7 months from the date of first
contact from Debtor’s counsel.

27. ln addition to the information provided by Debtor’s counsel, specific information
on the Debtor’s bankruptcy filing was available on credit reports published by Equifax, `Experian,
and TRW.

28. Neither NCO nor AMP examined the Debtor’s credit report prior to placing the
account for collection

29. Neither NCO nor Al\/IP contacted EDUCAP to verify payment of the debt before
persisting with coilection.

30, The post-discharge attempts at collection of this debt, by both NCO and Al\/IP
constitute a willful, ongoing and intentional violation of the Discharge Injunction as set forth in
11 U.s.c. § 524. c

31. Neither NCO nor Al\/lP has made any attempt to compensate the Debtor for the
damages that she has suffered.

32. The ongoing, willful and intentional nature of the Defendants’ conduct entitles the

Debtor to an award of attorney fees associated with the bringing of this action.

 

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33. The intentional, ongoing and willful nature of the Defendants’ conduct, entitles
the Debtor to an award of punitive damages for the willing refusal of the I_)efendants to honor an
Order of this Court.

COUNT TWO
DEBTOR’S CLAIM FOR V]()LATION OF THE FAIR DEBT
C()LLECTION PRACTICES ACT

Debtor incorporates the previous allegations of paragraphs 1- 33, and re-alleges them
herein. In support of the second claim for violations of the FDCPA, the Debtor makes the
following additional allegations:

34. At the time of the filing of the lawsuit, NCO and AMP were “debt collectors” as
defined by 15 U.S.C. § l692(a).

35. That NCO and AMP persisted in communicating with the Debtor after being
informed that Debtor was represented by eounsel.

36. That NCO and AMP failed to cease communications with the Debtor after being
informed of the Debtor’s bankruptcy filing, and payment of the debt, on multiple occasions

37. That NCO and AMP used false, deceptive and misleading representations in
regard to the debt sought to be collected from the Debtor. 15 U.S,C. § 1692(e). Specifically, the
communications misrepresented the legal status of the debt, and also implied legal action that
was barred by the discharge order. The communications further failed to acknowledge that the
debt nea been pena in 1‘n11. 15 U.s.c. § 1692(e)(2)-(4).

38. The attempts by NCO and Al\/[P to collect upon the debt of EDUCAP Were unfair
and unconscionable

39. That these actions by NCO and AMP have caused undue annoyance, harassment,

mental anguish and other difficulties for the Debtor for which actual damages are appropriate

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40, 'I`hat the Debtor is entitled to statutory damages. payable by NCO and Al\/IP, as
allowed by the FDCPA, in an amount of $1,00() per person.
41. That reasonable attorney fees be awarded to Debtor’s counsel, pursuant to the
FDCPA, for the prosecution of this action.
y PR.AYER FOR RELIEF

WHEREFORE, the Debtor respectfully requests the following relief from this Court:

l. An order enjoining l\lCO and AMP from any further attempts at collection upon the
discharged debt;
2. Actual damages to be awarded against NCO and Al\/lP for the Debtor’s stress, anxiety

and emotional distress as a result of the intentional and willfiil conduct of NCO and
AMP in violating the Automatic Stay provisions of 11 U.S.C. § 524 and ll U.S.C. §
362 (a);

3. Punitive damages in an amount to be determined by the Court based on the intentional
and willful conduct ofNCO and AMP in violating the Automatic Stay Provisions of
ll U.S.C. § 362 (a);

4. Puniti\l'e damages, in an amount to be determined the Court, based on the intentional
and willful conduct ofNCO and Al\/[P in violating the l_)ischarge Order, pursuant to
the provisions ofll U.S.C. § 524;

5. Attorney fees, in an amount to be proven at trial, associated with the bringing of this
action on behalf of the Debtor by Debtor’S counsel Said fees to be awarded by the
Court for work performed in response to the Defendants’ repeated violations of 11
U.S.C./§ 524. Attorney fees also to be awarded as allowed per statute for the

violations of the Fair Debt Collection Practices Act by NCO and Al\/IP;

 

 

 

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6. All statutory damages permitted the Debtor for the violations of thc Fair Debt
Collection Practices Act by NCO and Al\/IP;

7. Any other relief which this Court deems just and proper.

Respectfully submitted this §Q-day ofw_QCTTO\-“b@; _A__M, 2008.

LEIDEN and LE N

 

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Your Truatee hereby certifies that this cage has been fully administered. that a detailed record of all
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and incorporated by reference in this report.

 

 

  
 
 
 
 

 

 

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CASC NO. 04-14200

DALE A CROCKER REFUNDS 20(1.76

SECU'RED PRIORlTY UNSECUF.ED ADNIN A'I'TY O'I'HER
DBBT 7500.00 .00 16229.51 1709.59 1500.00 6800.74
FAID 1536.88 .00 16229.51 1789.59 1500.00 6893.52

Page:lQ of 37

PAGE 2

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33949.90

WHEREFORE, your Petitioner prays that s Finsl Decree be entered discharging your petitioner as Trustee and
releasing Truotee's surety from all liability on account of the proceedings; closing the estate, and for such other

relief as is just.

* Paid by Insuruncc

 

 

Batnee C. Bsxter, Trustae

 

 

 

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l,’-':BW (GAS 08/05)

United States Bankruptcy Court

Southern District of Georgia
Case No. §!4-|§2|!|!”§|!§

In rec D'ebtor(s) (narne(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):

Dale A. Crocker Deborah D. Crocker

2440 Yates Dr 2440 Yates Dr

Augusta, GA 30906 Augusta, GA 30906
Social Security NO.:

xxx-Xx_3890 xxx_xx_8228

Employer's Tax I.D. No.:

DISCHARGE OF DEBTOR AFTER COMPLETION
OF CHAPTER 13 PLAN

It appearing that the debtor is entitled to a discharge,
IT IS ORDERED:
The debtor is granted a discharge under section 1328(3) of title 11, United States Code, (the Bankruptcy Code).

BY 'I`HE COURT

 

Susan D. Barrett

United States Bankruptcy Judge
PO Box 1487
Augusta, GA 30903

Dated: _O_QlQbQLZQ.l0.0.é

SEE THE BACK OF 'I`HIS ORDER FOR IMPORTANT INFORMATION.

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FGRM BlSW continued (7/99)

EXPLANATION OF BANKRUPTCY DISCHARGE
IN A CHAPTER 13 CASE

This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

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The discharge prohibits any attempt to collect from thc debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property:] [There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay

damages and attorney's fees to the debtor.

However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged

t ’ are

The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court

pursuant to section 502 of the Bankruptcy Code.

Dehrs_thatateNQLDischaraed.
Some of the common types of debts Which are not discharged in a chapter 13 bankruptcy case are:
a. Debts that are in the nature of alimony, maintenance, or support;

b. Deth for most student loans;
c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
d. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle while intoxicated;

e. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on Which the last payment is due
after the date on which the final payment under the plan was due; and

f. Deth for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
trustee of the debtor's incurring the debt Was practicable but was not obtained. _

This information is only a general summary of the bankruptcy discharge There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact

effect of the discharge in this case.

 

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or recorded for quality assurance BAM_SPM FRIDAY
SAM-lZPM SATURDAY
Feb 6_. 2007 1
L d I b 50 10661 FORMER CREDITOR:
ED AP. lN
DALE cRo<:KER UC , C
qu|] YATE$ DR ACCOUNT #. 000063l090
PURCHASED BALANCE§ $79.67

USTA GA El|J“llJl=-ESBS
AUG INTEREST AMOUNTC $ 0.91

INTEREST RATE: ll. 1200/0
COLLECTION CHARGESZ $ 0.()0
COSTS; $ 0.00

OTHER CHARGESZ $ 639,93
TOTAL BALANCE: $ 720.51

Your account has bccii purchased by NCO Portfolio Managemcnt, an affiliate of NCO Financial Systcms, liic. lt is
important that you forward your payment

This may be reported to all national credit burcaus, if you: a) do not notify this office within 30 days after receiving this
notice that you dispute the account or any portion thereof, or b) thc account is not aid in full or otherwise resolved after 30
days from receiving this notice. It is our intention to work with you to resolve t is matter. However, if payment or any
acceptable resolution has not occurred, your account will be subject to nirthcr collection

§§)1141 vr&i(ay also make payment by visiting us oiiline at www.iicofinaricial.com. Your unique registration code is CLJ 16802~

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion
thereof, this office will assume this debt is valid. lf you notify this office in writing within 30 days from receiving this
iioticc, this office will obtain verification of the debt or obtain a copy of a judgement and mail you a co y of such judgement
or verification lf you request this office in writing within 30 days after receivin this notice, this o ice will provide you
with thc name and address of the original creditor, if different from the current crc itor.

Your account balance may be periodically increased due to the addition of accrued interest or other charges as provided in your
agreement with the original creditor or as otherwise provided by stale law.

This is an attempt to collect a debt, Any information obtained will be used for that purpose This is a
communication from a debt collector.
P'-EASE RETURN TH*S PQRT'ON W‘T_E'_XOUR E`../§YMENT (MA*$_‘§ §UB_E_§PDBE$$__$HQW§ idR?_U§ti!\_/_'NPQ_Y\!_)_______

 

 

 

Account # Tota| Balance
LJ|680 $ 720.51
DALE CROCKER

Payment Amount l

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Chack here lf your address or phone number has
changed and provide the new information below,

Make Payment To:

NCO FINANCIAL SYSTEMS
PO BOX 4907
TREN'I`ON NJ 08650-4907 NCO B‘l

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Calls to or from this company may be monitored ' 8AM_9PM MON THRU THURSDA-Y
or recorded for quality assurance . SAM_SPM FRIDAY
SAM-lZPM SATURDAY
Feb 6, 2007
mm FORMER CREDITOR:
ii§l§:g.i|H CROCKER EDUCAP`INC
ACCOUNT #: 0000878087
E q w YATES DR PURCHASED BALANCE: $`150.06

A A -
AUGUST 6 30qu 2555 INTERESTAMOUNT;$1.75

lNTEREST RATE: ll.150%
COLLECTION CHARGES: $ 0.00
COSTS: $ 0.00

OTHER CHARGES; $ 1441.43
TOTAL BALANCE: $ 1593.24

Your account has been purchased by NCO Portfolio Management, an affiliate of NCO Financial Systems, lne. lt is
important that you forward your payment

Tliis may be reported to all national credit bureaus, if you: a) do not notify this office within 30 days after receiving this
notice that you dispute the account or any portion thereof`, or b) the account is not aid in full or otherwise resolved after 30
days from receiving this notice lt is our intention to work with you to resolve tliis matter. However, if payment or any
acceptable resolution has not oceurred, your account will be subject to further collection.

2Y£§)lu vr&i(§t\)}/J also make payment by visiting us onlinc at www.ncofinancial.eom. Your unique registration code is CLJ 16812-

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion
tiiereof`, this office will assume this debt is valid. If` _vou notify this office in writing within 30 days from receiving this
notice, this office will obtain verification of the debt or obtain a copy of a judgement and mail you a copy of such judgement
or verification.\ if you request this office in writing within 30 days after receivin this notice, this office will provide you
with the name and address of the original creditor, if different from the current cre itor.

Your account balance may be periodically increased due to the addition of accrued interest or other charges as provided in your
agreement with the original creditor or as otherwise provided by state law.

This is an attempt to collect a debt. Any information obtained will be used for that purpose This is a
communication from a debt coliector.
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Account # Total Ba|ance
LJ|681 $ 1593.24

DEBORAH CROCKER
Payment Amount l

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Check here if your address or phone number has
changed and provide the new information below.

Make Paymenl To:

NCO Fl`NANCIAL SYSTEMS
PO BOX 4907
TRENTON NJ 08650-4907 NCO Bi

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LEn)EN AND LEiI)EN

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C. Christopher CoCrof`t, .lr,

Terrance Patrick Leiden (aiso Ohio) 330 Telfair Street
Zane l’. Leiden (also SC) Augusta, Georgia 30901-2450 (l94l-i974)
L.E. MalOl'iCllO (706) 724_8548

Toll Frzze Number 888~228~9035
FAX ('706) 724-9727

Februai'y 19, 2007

NCO Finaneial Systems
507 Prudential Road
I-lorsham, PA 19044

RE: Dale & Deborah Crocker
Chapter 13 Case No. 04-14200
Educap Account Nos. 0000631090 & 0000878087

To Whom it May Concern:

I represented Dale & Deborah Crocker in a Chapter 13 bankruptcy which he filed in the
United States Bankruptcy Court for the Southern Distriet of Georgia on November 18, 2004. l
have received a copy of your letters dated February 6, 2007, attempting to collect alleged debts
l"i‘oni these clients, on behalf of Educap. Obviously, you are aware that the debts to Educap were
paid in full through my clients Chapter 13 bankruptcy. I have enclosed copies of the Chapter l3
plan, final report and account, and discharge order for your reeords. The claims of Educap were
paid in full at the contract rate of interest Clearly, your attempts at collection upon this debt are
in direct and conscious violation of the terms of the Discharge Order. Furthermore, the
collection attempts are in violation of the Fair Debt Collection Practices Act.

By way of this letter, l am demanding that you cease and desist any further collection
attempts upon this debt. Not only will this letter serve to dispute the debt, b_ut please be advised
that any future attempt at collection upon this debt will be met by the filing of an adversary
proceeding, seeking damages and attorney fees for your willful violation of the Discharge Order
and relevant provisions of the FDCPA. Please forward this letter on to the original creditor to
avoid legal action.

 

ZPL/_ihs
Cc: Dale & Deborah Crocker
linclosures as stated

 

 

 

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Treuiont NJ 08650-490")

Calls to or from this company may be monitored
or recorded for quality assurance

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DALE cRocKER

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SETTLEMENT OFFER

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507 Prudciitial Road, Horsham, PA 19044

18002540667

OFFICE HOURS:

SAM~‘)PM MON THRU THURSDAY
SAM-SPM FRlDAY

BAM-lZPM SATURDAY

Mar 10, 2007

NCO PORTFOLIO MANAGEM_ENT - `i' k
FORMER CREDlTOR; EDUCAP, INC ' '
ACCOUNT #1 00()0631()90

PURCHASED BALANCE: $79.67

lNTEREST AMOUNT! $ 1.69

INTEREST RATE! 11.120%

COLLECT[ON CHARGES: $ 0.00

COSTS: $ 0.00

OTHER CHARGES: $ 639.93

TOTAL BALANCE: $721.29

We can settle this account for less than the full balance This offer may expire without notice Before making payment,

please confirm with one of our representatives that this offer has not expired

Plcase contact our office at 18002540667 for details

You may also make payment by visiting us online at www.ncof_inancial.com. Your unique registration code is CL116802-

28LWOV.

Should you choose riot to accept this offer, your account balance may be periodically increased due to the addition of accrued interest
or other charges as provided in your agreement with tlie original creditor or as otherwise provided by state law.

'I`his is an attempt to collect a debt, Any information obtained will be used for that purpose This is a

communication from a debt collector.

PLEASE RETLiRN TH|S PORTiON WiTH YOUR PAYMENT (MAKE SURE ADDRESS SHOWS THROUGH WlNDOW)

 

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DALE cROCKER
Payment Amount l

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NCO FlNANCIAL SYSTEMS

PO BOX 4907

TRENTON NJ 08650-4907 6 NCO U
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_ _ OFFICE HOURS:
Calls to or from this company may be monitored 8AM_9PM MON THRU TH'URSDAY

or recorded for quality assurance \/ BAM_SPM FRlDAy
Q 8AM-l2PM SATURDAY

Mar 10, 2007

NCo PoRTFoLio MANAGEMENT
L d l 55 1 FoRMER CREDiTo_R; EDuCAP, iNC
§EESR¢:T§§°§§ER ACCouNT #; 0000873087
AUGUSTA GA Bncinb_agas PURCHASED BALANCE $150.06
rNTEREsT AivioUNT; s 3.22
rNTEREsr RATE; 11.150%
coLLECTtoN CHARGEs; s 0.<)0
CosTs; s 0.00
oTHER CHARGES: s 1441.43
ToTAL BALANCE: 31594.71

SETTLEMENT OFFER

We can settle this account for less than the full balance This offer may expire without notice Before making payment,
please confirm with one of our representatives that this offer has not expired.

Please contact our office at 18002540667 for details

 

You may also make payment by visiting us online at www.ncofinancial.com, Your unique registration code is CLJI()S 12~
28LWOW.

Sliould you choose not to accept this offer, your account balance may be periodically increased due to the addition of accrued interest
or other charges as provided in your agreement with the original creditor or as otherwise provided by state law.

This is an attempt to collect a debt. Any information obtained will be used for that purpose This is a
communication from a debt collector.
PLEASE RETURN TH|S PORT|ON WiTH YOUR PAYMENT (MAKE SURE ADDRESS SHOWS THROUGH WlNDOW)

 

Account # Total Balance
LJI681 $ 1594_71

DEBORAH CROCKER
Payment Amount ly

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Check here if your address or phone number has
changed and provide the new information below.

Maka Payment To:

NCO F[NANCIAL SYSTEMS
PO BOX 4907
TRENTON NJ 08650-4907 q NCO4HO

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A Professional Corporation

Terrance Patrick Leiden (also Ohio) 330 Telfair Street C. Christopher CoCroft, Jr.
Zane P. Leiden (also SC) Augusta, Georgia 30901-2450 (1941»1974)
L.E. Maiorielio (706) 724-8548 `

Toll Free Number 888-228-9035
FAX (706) 724-9727

Aprn 5, 2007

SECON]) DEMAND

NCO Financial Systems
507 Prudential Road
Horsham, PA 19044

RE: 1 Dale &. Deborah Cro_cker
Chapter 13 Case No. 04-14200
Educap Account Nos. 0000631090 & 0000878087

To Whom it May Concern:

I represented Dale & Deborah Crocker in a Chapter 13 bankruptcy Which he filed in the
1 United States Bankruptey Court for the Southern District of Georgia on November 18,2004.1
;.»- have received a copy of your letters dated February 6, 2007, attempting t_o collect alleged debts '
from these clients, on behalf of Educap Obviou`sly, you are aware that the debts to Educap were
paid in full through my clients Chapter 13 bankruptcy Ihave enclosed copies of the Chapter 13
plan, final report and account, and discharge order for your records. The claims of Educap were
§ paid in full at the contract rate of interest, Clearly, your attempts at collection upon this debt are
§ ' in direct and conscious violation of the terms of the Discharge Order. . Furthemiore, the
§ collection attempts are in violation of the Fair Debt Collection I_?ractices Act.

t
§ By way of this letter§ I am demanding that you cease and desist any further collection

§ - attempts upon this debt, Not only will this letter serve to dispute the debt, but please be advised
t that any future attempt at collection upon this debt will be met by the filing of an adversary

§ proceeding seeking damages and attorney fees for your willful violation of the Discharge Order
and relevant provisions o_f` the FDCPA. Please forward this letter on to the original creditor to

i avoid legal action.

    

Zane P. Lei en

ZPL/jhg _
1 Cc: Dale & Deborah Crocker

Enclosuresasstated E\L \/\` b\ + \O

 

 

 

PO Box 4909

NCO FINANCIAL SYSTEMS INC

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Calls to or from this company may be monitored
or recorded for quality assurance

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DALE cRocKER

esso vATts DR

AucusTA sA scans-2555

Dear DALE CROCKER,

507 Prudential Road, Horsham, PA 19044

18002540667

oFFiCE HOURS:

sAM-QPM MoN THRU THURSDAY
sAM-sPM FRIDAY

sAM-izPivt sATURDAY
Ju112,2007

NCO PORTFOLIO MANAGEMENT
FORMER CREDITOR: EDUCAP, iNC
ACCOUNT #: 0000631090
PURCHASED BALANCE: $79.67
INTEREST AMOUNT: $ 4.70
INTEREST RATE: 11.120%
COLLECTION CHARGES; $ 0.00
COSTSZ $ 0.00

OTHER CHARGES; $ 639,93

TOTAL BALANCEZ $724.30

We are offering you a settlement at this time, which will allow you to pay 50% of the balance listed above This offer may
expire without notice Before making payment, please confirm with one of our representatives that this offer has not

expired

Forward your payment to the address listed below. If you have further questions please contact us at 18002540667.

You may also make payment by visiting us onlinc at www.ncofinancial.com. Your unique registration code is CL116802-

28LWOV.

Should you choose not to accept this otfer, your account balance may be periodically increased due to the addition of accrued interest
or other charges as provided in your agreement with the original creditor or as otherwise provided by state law.

This is an attempt to collect a debt Any information obtained will be used for that purpose This is a

communication from a debt collector.

PLEASE RETURN THlS PORT|ON WlTH YOUR PAYMENT (MAKE SURE ADDRESS SHOWS THROUGH WlNDOW)

Cheok here if your address or phone number has
changed and provide the new |nformation beiow.

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'Aec'ou'ht # Total Ba|an`ce
LJ1680 $ 724.30
DALE CROCKER

Payment Amount .

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NCO FINANCIAL SYSTEMS

PO BOX 4907
TRENTON NJ 08650-4907 NCO R

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18002540667
_ _ OFFICE HOURS:
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or recorded for quality assurance 8AM_5PM FRIDAY

8AM-12PM SATURDAY
Jul 12, 2007

NCO PORTFOLIO MANAGEMENT

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‘I§‘E’§§§§H cRoCKER FoRMi-:R CREDiToR; EDUCAP, 1NC
ACCoUNT #; 0000378037
EWJ YATES DR PURCHASED BALANCE: $150.00

Aucus'ri GA susas»asss INTERESTAMOUNT:$&%
lllllllllllll|l-lllllll||llll|l|l|l|lllllll|l|ll|ll|"|l|l|l|l| INTEREST RATE- 11150%
CoLLECTroN cHARGEs; s 0.00
CosTs; $ 0.00
oman CHARGES: $ 1441.43
TorAL BALANCE: $1600_39

Dear DEBORAH CROCKER,

We are offering you a settlement at this time, which will allow you to pay 50% of the balance listed above This offer may
expire without notice Before making payment, please confirm with one of` our representatives that this offer has not
expired.

Forward your payment to the address listed below. lf you have further questions please contact us at 18002540667_

You may also make payment by visiting us onlinc at www.ncof'rnancial.com. Your unique registration code is CLJIoSlZ-
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Should you choose not to accept this offcr, your account balance may be periodically increased due to the addition of accrued interest
or other charges as provided iri your agreement with the original creditor or as otherwise provided by state law.

This is an attempt to collect a debt Any information obtained will be used for that purpose This is a
communication from a debt collector.
PLEASE RETURN THlS PORT|ON WITH YOUR PAYMENT (MAKE SURE ADDRESS SHOWS THROUGH WlNDOW)

 

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NCO FINANCIAL SYSTEMS

PO BOX 4907

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Law Office of

LEII)EN AND LEIDEN

A Professional Corporati`on

Terranee Patn`ck Leiden (also Ohio) 330 Telfair Street C. Christopher CoCrof`t, Jr.
Zane P. Leiden (aiso SC) Augusta, Georgia 30901-2450 (1941~1974)
L.E. Maioriello

(706) 724-8548
Toll Free Number 888-228-9035
FAX (706) 724-9727

July 30, 2007

NCO Financial Systems

ATTN: LEGAL DEPARTMENT
VIA CERTIFIED MAIL

507 Prudential Road

Horsharn, PA 19044

RE: Deborah Crocker
Chapter 13, Case No.: 04-14200
NCO Portfolio Management Account No.: 0000878087
Collection of Debt for EDUCAP, lnc.

To Whom It May Concern:

Please find enclosed a copy of the Motion to Reopen the Chapter 13 case which has been
filed with respect to the above-referenced debt I represented Deborah Crocker in a Chapter 13
bankruptcy case which she filed in the United States Bankruptcy Court for the Southern District of
Georgia on November 18, 2004. The terms of her Chapter 13 plan called for the student loans to be
paid in full at the contract rate of interest during the Chapter 13 ease l have also enclosed copies of
previous correspondence which 1 have mailed to your company. To date, I have received no
response

1 am sending this letter as required by the local Federal rules as a good faith attempt to
resolve the dispute prior to the initiation of an adversary proceeding I expect this correspondence
will be disregarded as was the previous correspondence Once the Motion to Reopen the case is
granted, 1 Will file an adversary proceeding seeking damages for the ongoing and repeated
violations of the discharge injunction in this case Furthermore, I intend to seek additional damages
pursuant to the Fair Debt Collection Practices Act. The claims under the FDCPA will be based
upon the fact that NCO has been notified that the debt is disputed, and that the Debtors are
represented by counsel, yet has persisted in direct communication. The attorney’s fees which have
accumulated to date With respect to the post-discharge collection attempts are approaching
$1200.00, which is almost the amount that NCO is seeking to collect The statutory and
compensatory damages will easily exceed the amount that NCO is seeking to collect

 

This is the last opportunity for NCO to avoid being named as a defendant in adversary
proceeding, subject to the above-referenced claims If you have any questions, or require further

information in order to demonstrate that the debt has been paid in full and discharged please
contact my office If` I do not receive a response, in writing, indicating that NCO will no longer

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pursue collection of this debt, and will not sell, transfer, or otherwise assign the debt to another
party, then I will forego the filing of an adversary proceeding Govern yourself accordingly.

ZPL/hms
Enclosures: Filed copy of Motion to Reopen Chapter 13 case
Modified Chapter 13 plan and motion
Letter to NCO on Februar'y 19, 2007 '
Letter to NCO on April 5, 2007
Discharge of Debtor’s Chapter 13 Plan
Final Report and Account

 

 

 

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- _ _ .' ' ' ' iv ' ' a §§qu7
Case.os 01053 SDB D __J\§ Frled.lo/zl/os Enrered.10/22/0§23.§,§.;0§;315‘®;§;§$l oLLC

665 Molly Lane
Su;tte 110 /L 575%gw0808 P.O. Box 2824 - Woodstock, GA 30188
woodstock, ca 30189 651 Phone: 888-355-7515

242189-AMP00522

   

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DEBos.An Caocr<i:s .,»_ tg`c_H "
330 TELFAIR srassr v éA 7
Auotisra, en 30901#2450

Dear Sir/Madam:

Our client, NCO PORTFOL[O MANAGEMENT, lNC who has purchased your defaulted account from NCO/ASGNE OF EDUCAP, lNC
has authorized us to settle on this account Our client has allowed us to offer you the option of one of the following two (2) repayment

plans in order to settle this balance

Please choose one of the following options and forward this letter with your payment to Asset Management Prof`essionals, LLC in the
envelope provided:

- My balance will be settled in full by a one-time payment of $8 12.04; or
~ My account will be settled in full by three (3) equal consecutive monthly payments of $351.89

If you would like to discuss alternative payment arrangements please contact this office at (888) 355-7515. For your convenience our
account representatives accept several forms of` payment

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion thereof, our
office will assume this debt is valid. If you notify this office in writing within 30 days from receiving this notice that you dispute the
validity of this debt or any portion thereot`, this office will obtain verification of the debt or obtain a copy of a judgment and mail a copy of
such judgment or verification to you. lf you request from this office in writing within 30 days from receiving this notice, this office will
provide you with the name and address of the original creditor if that is different from the current creditor.

THIS COMMUNICATION lS FROM A DEBT COLLECTOR. THIS lS AN ATTEMPT TO COLLECT A DEBT. ANY
INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. AMp00522

AhAP.whd,Vl
562651

**NOTiCE: SEE REVERSE SIDE `FOR IMPORTANT INFORMATION**

""`D`é`tech and return this"poiti'oi‘i`vvith your payment ir`i` the envelope provided

PLEASE MARK AN OPTION BELOW Reference #: 242189

Amount Enclosed:

 

( ) My balance will be settled in full by a

One time Payment EqUe-l to 5812004- Make your cheek or Money Order Payable to Asset
Management Professiorials, LLC. Please be sure the
address below is visible in the remit envelope window.

( ) My balance will be settled in full by
THREE equal monthly payments of $351.89.
These payments will be made on the
day 05 0‘5‘50 00000 i||"iii'ii"i'i|i"|'i"|'|"'|ii|'ii'i"i|"i"'i"iiiii"i'i"
ASSET MANAGEMENT PROFESSIONALS, LLC

PO BOX 2824
WOODSTOCK, GA 30188-1386 »----

Niake your check or money order payable to § E%\/_\ c \B\ »§-' l 0

Asset Management Professionals, LLC.
AMonri-s')o

 

 

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F’;ll_

In The United States Bankruptcy Court
For the Southern District of Georgia

Augusta Division 2008 OCT 2\ Pl‘i l-l: 00

cHAPTER 7 U.S.Bl\l'll‘§i,g¥iciitcoum
. _ 00‘
CASE NO.. 04 1420§!\¢1`5\£\_ ilv\’};y, ELERK

lN RE

DALE AND DEBORAH CROCKER,
Debtor.

DEBORAH CROCKER,
P/ainti[]';
V. ADVERSARY NO.:

NCO lilNANCIAL SYSTEMS, LLC
Fl'rst Defendant.

ASSET MANAGEMENT
PROFESSIONALS, LLC
Second Defendant,

CERTIFICATE OF INTERESTED PARTIES

The undersigned, counsel of record for DALE AND DEBORAH CROCKER, certifies that the following is a full and
complete list of the parties in this action:

 

Nan'le identification and Relationship
Deborah Crocker Debtor/Plaintiff
NCO Financial Systems, LLC (“NCO”) Creditor/First Defendant

Asset Management Professiona|s, LLC (“AMP”) Creditor/Second Defendant

The undersigned further certifies that the following is a full and complete list of officers, directors, or trustees of the
above-identified parties:

 

_N_a@ ldentification and Relationship
Michael Barrist NCO Chairman ofthe Board, President & CEO
Stephen Elliott NCO Chieflnformation foicer
.loshua Gindin, Esq. NCO EVP and General Counsel
Steven l,ecl<erman NCO Chief Operating Officer
John Schwab NCO Chief Financial Officer
Steven L. Winokur NCO Executive Vice President
Albert Zezulinski NCO EVP of Global Portfolio Operations
Michael Rosenthal AMP Managing Member

The undersigned further certifies that the following is a full and complete list of other persons, firms, partnerships,
corporations, or organizations that have a financial interest in, or another interest which could be substantially
affected by, the outcome of this case (including a relationship as parent or holding company or similar relationship):

 

Name ldentification and Relationship
Zane P. Leiden Plaintiffs Counsel
Leiden & Leiden, P.C. Plaintiffs Counsel

Respectfully submitted this L§_t_'day of _ @C:_"To_ 0 E¢. , 2008 ‘
IDEN and

Byf 0 .c
ane P. LeidenU
Ga. Bar No.: 445820
330 Telfair Street
Augusta, Georgia 30901
(706) 724-8548

 

B 104 (FORM 104) (08/07)

(lnstructions on Reverse)

ADVERSAR'Y PROCEEDING

CaSe:OS»tQBDERsS&IBY PRGtLEElHIeet;LO,m//ER strmed:lo/zz/Ce\'estals%ol Page: 35 of 37

(Court Usc Only)

 

 

AUGUS’I`A, GA 30906

l’LAINTlFFS FIRST DEFENDAN'I`
DEBORAH CROCKER - NCO FINANCIAL MANAGEMENT SYSTEMS, LLC
2440 YATES DRIVE ATTENT]ON: OFFICER/AGENT

507 PRUDENTIAL ROAD
HORSHAM PA 19044

SECOND DF.FENDAN'I`

ASSET MANAGEM'I`N PROFESSIONALS, LLC
ATTENTION: OFFICER/AGENT

665 MOLLY LANE, SUITE 110

WO()DSTOCK GA 30189

 

ATTORNEYS (Firm Name, Address_, and Telephone No.)
Zane P. Leiden

Leiden and Leiden

330 Telfair Street

Augusta, Georgia 30901 706-724-8548

ATTORNEYS (lf Known)

 

PARTY (Check One Box Only)

m Debtor I:I U.S.Trustee/Bankruptcy Admin
[:l Creditor i:l Other
[:] Trustec

PARTY (Check One Box Only)

I:] Debtor [:l U.S.Trustce/Bankruptcy Admin
g Creditor [:l Other
l:l Trustee

 

 

11 U.S.C. §362

CAUSE or ACTION (wRITE /\ BRiE;F sTATEMEN'r or CAusE or /\t'_:'i"ioN` iNCLUDiNC. Ai_ii. u.s. sTATuri-is iNvoLvED) "A
PLAINTIFF SEEKS I)AMAGES FOR THE AU'I`OMATIC S'I`AY VIOLATION

NATURE ()F SUlT
(Numbcr up to five (5) boxes starting with lead cause of action as l, lirst alternative cause as 2, second alternative cause as 3, ctc.)

 

FRBP 7001(1) - Recovery of Money/Properfy
[:] ll~Rccovery of`money/property - §542 turnover of property
l___l lZ-Recovery of money/property - §547 preference

|:] 51-Revocation of Discharge

FRBP 7001(6) - Dischargeability

[:l 66-Disthargettbiiity - §523(§)(1),(14),(14/4) priority taxes
ij 62-Dischargeability ~ §523(a)(2). false pretenses false
representation, actual fraud

I:] 67-Discha.rgeability - §523(a)(4), fraud as fiduciary,
embezzlement larceny

(continued on next column)

 

FBRP 7001(6) - Dischargeabi|ity (continued)
|:l 60-Dischargeability - §523(ti)(5), domestic Stippott
l:\ 68-Dischargeability - §523(a)(6), willful and malicious injury

 
 

 

ij l3-Recovery of money/property - §548 fraudulent transfer [:] 63-Dischargeability - §523(21)(8), student loan
i:l l4-Recovery of money/property - §542 other \:l 64-Dischargeability - §523(a)(15), divorce or separation
obligation
(othercd th_an dBestic support)
FRBP 7001(2)- Validity, Priority or Extent of Lien § q . m
l:l 21- Validity, priority or extent of lien or other interest in property l:] 65- Dischargeability- other §;;; :; §§
t `I “ '.
FRBP 7001(3)- Approval of Sale of Property FBRP 7001(7)- Injunctive Relief ‘\'_" ` g '“
l:] 31- -Approval of sale of property of estate or of a co- -owner-§363(h)\:] 7l- l-njunctive Relief imposition of stay _`, ;,,;: t`\> "'-T-
[:I 72- lnjunctive Relief other "`C~ w m

.v~` ) _U m
FRBP 7001(4) - Objection/Revocation of Discharge FBRP 7001(8) Subordination of Claim"drdl§ijeres'~@¢
\:\ 41-Objection/revocaticn of discharge - §727(0),(d), (e) l:] 81- Subordination of claim or interest c 2 y g .r-"

m ..

,".J c:‘.
FRBP 7001(5) - Revocation of Conf“irmation FBRP 7001(9)- Declaratory Judgment ?F“‘- W 3

l:] 91- Declaratory Judgment `

FBRP 7001(10) - Determination of Removed Action
[:\ OI-Determination of removed claim or cause

Other
I:l SSWSIPA Case - 15 U.S.C. §§78aaa et.seq.
02~Other (e.g. other actions that would have been brought in state
court if unrelated to bankruptcy case)
Damages for violation of the Automatic Stay

 

 

 

 

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: Check ifthis case involves a substantive issue of statc'_la_w _ [:] Chcck il` this is asserted to be a class action under FRCP 23

 

 

 

 

Check ii`ajury trial is demanded in complaint _\ '_ Dcmand $2510()0_()()

 

 

 

 

Other Relief Sought

 

BANKRUPTCY CASE IN WHICH TH[S ADVERSARY PROCEED|NG ARlSES

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.

DALE AND DEBORAH 04-14200

CROCKER

oisTRlCT iN WHiCH CA:;E is PENDING DivisioNAL NAME OF JUDGE

Southern ` OFFK'-`E Susan D. Barrett
` Augusta

 

 

3104 (Fonivi) (08/07), rage 2

RELA'l`ED ADVERSARY PROCEEDING (1F ANY)

 

Pl.AlN'l`ll`~`F DEFENDANT ADVERSARY PROCEEDlNG NO.

 

DlSTRICT lN WHICH ADVERSARY lS PENDING Dl\/ISION OFFICE NAl\/IE OF .IUDGE

 

 

 

SIGNATURE OF ATTORN]Z:`,Y (OR PLAINTIFF)

 

DATE

October 21, 2008 lane P. Leiden

-_ PRINT NAME ()F A'l"l`ORNEY (OR PLAINTIFF)

 

 

 

 

INSTRUCTlONS

The filing ofa bankruptcy case creates an “estate” under thejurisdiction ofthe bankruptcy court which consists
of`all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction ofthe court so broad, there may be lawsuits over the property ofpropcrty rights of the estate 'l`here also
may be lawsuits concerning the dcbtor’s discharge li`such a lawsuit is filed in a bankruptcy court, it is called an
adversary.

A party filing an adversary proceeding must also complete and file Form 104, the Adversary l’roceeding Covcr
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Casc
Filing Systcm (CM/ECF). (CM/E,CF captures the information on Form 104 as part ofthe filing process.) When
completed, the cover sheer summarizes basic information on the adversary proceedingl The clerk of court needs the
information to process thc adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other '-)apers as required by law, the Bankruptcy Rules_, or the local rules of court The cover sheet, which is
largely self explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented
by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed
Plaintiffs and Defendants. Give the names and addresses of the attorneys, if known.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Chch the rnost appropriate box in the first column for the plaintiffs and the second column for thc defendants

Demand. linter the dollar amount being demanded in the complaint

 

 

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Signature. This cover sheet must be signed by the attorney of record in the box on the second page of` the form. lf` the
plaintiff is not rcpr`:sented by a law firm, a member of the firm must sign. lf` the plaintiff is pro se, that is, not represented
by an attorney, the'plaintiff must sign.

